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                                                           October 13, 2020

         VIA CM/ECF

         The Honorable Joel Schneider
         United States District Court for the District of New Jersey
         Mitchell H. Cohen Building
         & U.S. Courthouse
         4th & Cooper Streets
         Camden, New Jersey 08101

                   Re:       In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                             Case No. 1:19-md-02875-RBK-JS; The Teva Defendants’ Letter Motion for
                             Cost-Shifting and/or Further Relief Under Rule 26’s Proportionality Limits


         Dear Judge Schneider:

                 Defendants Teva Pharmaceuticals USA, Inc., Teva Pharmaceutical Industries Ltd., Actavis
         LLC, Actavis Pharma, Inc., and Arrow Pharm (Malta) Ltd. (collectively, “Teva” or the “Teva
         Defendants”) respectfully submit this letter brief in support of their request for an order foreclosing
         additional review of documents that based on state-of-the-art technology-assisted review (“TAR”)
         used according to eDiscovery best practices, are predicted to be non-responsive and/or to shift the
         cost of Teva’s further non-responsive document review by ordering Plaintiffs to reimburse Teva’s
         costs and fees associated with reviewing documents that its Continuous Multi-Modal Learning
         (“CMML”) platform predicts are non-responsive. Completing a linear manual review on these
         hundreds of thousands of documents that are non-responsive has no proportional benefit to either
         party here.

                As set forth below, the vast majority of these documents are non-responsive as predicted
         by CMML, and Teva should not be forced to go through the grossly disproportionate exercise of
         reviewing them solely for Plaintiffs to obtain no additional materially relevant information in
         discovery than they are already receiving via the responsive documents that have been produced.1
         The total cost to Teva associated with engaging in this senseless discovery exercise is millions of

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          As Teva has previously made clear to the Court, utilizing a technology such as CMML has been shown to be far
         more effective and efficient than engaging a massive team of attorneys to perform a linear manual review. Thus,
         Plaintiffs have already received the benefit of a more accurate and timely process being used (and more relevant
         documents being prioritized for review and thus earlier production). Despite their interests being furthered by Teva’s
         use of CMML for the production of documents, Plaintiffs continue in their steadfast refusal to let Teva use CMML to
         cull non-responsive documents. They cannot have it both ways.

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        dollars (not to mention the significant amount of time it unnecessarily diverts from Teva’s defense
        team focusing on relevant discovery) and far outweighs any potential benefit to Plaintiffs
        associated with this review. If Plaintiffs still disagree with Teva as to the potential benefit, based
        on the data and evidence set forth below, they should be ordered to pay for the cost of the additional
        review.

                As the Court is well-aware, Teva previously filed a letter brief in support of its motion for
        an order enforcing the Electronic Discovery Protocol (“ESI Protocol”) (Dkt. 127) affirming the
        Teva Defendants’ electronic document review and production process utilizing the CMML system.
        As set forth in Teva’s previous filings relating to CMML, the Teva Defendants had not yet relied
        on CMML to exclude any documents from its review, but rather were utilizing CMML to simply
        prioritize their review so that Plaintiffs would receive the most relevant documents first. (Dkt.
        516). Despite Teva and the Court’s herculean efforts to reach agreement with Plaintiffs on a
        validation protocol surrounding Teva’s use of CMML, the Plaintiffs continued to unreasonably
        insist on Teva both reviewing and producing thousands of non-responsive documents, which is
        not consistent with the Federal Rules. Fed. R. Civ. P. 26(b)(1) (“Parties may obtain discovery
        regarding any nonprivileged matter that is relevant to any party's claim or defense and proportional
        to the needs of the case . . . . (emphasis added)). Accordingly, Teva was left with no choice but to
        withdraw its motion to enforce the ESI Protocol. (Dkt. 544). Now, after additional review, no
        validation protocol is necessary, as Teva has detailed data to demonstrate to Plaintiffs, and also
        the Court, that its CMML platform is working consistent with Teva’s representations and that the
        value of continued linear manual review of documents labeled non-responsive by CMML is
        negligible in comparison to the enormous cost and burden for Teva.

                For example, since the parties and the Court last spoke, and since Teva continued in its
        review of the ESI of the six priority custodians, Teva undertook to review a uniform random
        sample of 15,000 documents from the high-priority custodians that the CMML platform has
        indicated are non-responsive. Out of 15,000 documents, and after a quality control process, the
        reviewing attorneys deemed merely 109 to be responsive, an elusion of only 0.73%. See
        Declaration of Maura Grossman (“Grossman Dec.”), ¶5. This process involved 330.6 hours of
        attorney review time, all of which was wasted given that 99% of the documents reviewed will not
        be produced given that they have been deemed non-responsive by attorneys. See Declaration of
        Deborah Ketchmark (“Consilio Dec.”), at ¶3.

                Moreover, of the 109 responsive documents that Teva’s review found in the non-responsive
        set of 15,000, almost all of them are duplicative of documents already produced or would be
        considered only marginally responsive. Stated differently, the de minimis number of responsive
        documents that Teva’s onerous and expensive non-responsive review has uncovered are neither
        materially relevant nor dispositive documents. This only further demonstrates the disproportionate
        nature of the unreasonable review that Plaintiffs insist Teva engage in solely to force Teva to spend
        millions of unnecessary dollars.

               At this point, the issue before the Court is not what the ESI Protocol permits or does not
        permit as it relates to CMML. Rather, the Court must rule on a straightforward proportionality
        eDiscovery dispute. Teva should not be forced to spend months and millions of dollars reviewing

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        electronic documents that it already knows are likely to be non-responsive based on well-known
        technology that has become the norm in eDiscovery. Forcing Teva to do so is the exact scenario
        that the December 2015 proportionality amendments to Rule 26 were intended to prevent—
        needlessly wasting resources on disproportionate discovery. See e.g., Hon. John Roberts, 2015
        Year-End Report on the Federal Judiciary (Dec. 31, 2015) (“Rule 26(b)(1) crystalizes the concept
        of reasonable limits on discovery through increased reliance on the common-sense concept of
        proportionality . . . .”). And, to the extent the Court is inclined to force Teva to review all
        documents that hit on search-terms even though predicted to be non-responsive, the costs
        associated with having to undertake this review should be shifted to the Plaintiffs who have
        unreasonably attempted to thwart Teva’s efforts to leverage this now industry standard technology.

            I.       RELEVANT PROCEDURAL BACKGROUND

                On July 14, 2020, Teva filed a letter brief in support of its motion to enforce the ESI
        Protocol by foreclosing Plaintiffs’ attempt to unilaterally control Teva’s method of electronic
        document review and to allow the Teva Defendants to leverage the CMML platform. (Dkt. 516).
        As set forth more fully therein, Teva engaged in a meet and confer process with Plaintiffs prior to
        filing its motion and provided Plaintiffs with a substantial amount of information relating to
        CMML. (Dkt. 516, at Exhibits A – H). Despite these efforts, Plaintiffs objected to Teva’s proposed
        use of CMML, prompting Teva to file its motion to enforce the ESI Protocol.

               On July 15, 2020, the parties appeared before Your Honor for a case management
        conference, the majority of which focused on Teva’s proposed use of CMML. During the
        conference, certain other co-defendants made their intent to use a Continuous Active Learning
        (“CAL”) process known to the parties and the Court. At the conclusion of the hearing, the Court
        ordered that no party was to use CAL to limit its review of documents pending a further ruling.
        The Court also set a deadline for additional submissions on the issue to be filed by July 24, 2020.

                On July 24, 2020, Plaintiffs filed their opposition to Teva’s motion, largely arguing that
        Plaintiffs would not have engaged in search-term negotiations had they known of Teva’s intent to
        use a CAL process.2 (Dkt. 526). Plaintiffs claimed that it was the layering of CMML on top of
        search terms that was problematic.

                On that same day, Teva responded to Plaintiffs’ letter explaining that layering CMML on
        top of search terms is an accepted methodology and numerous courts around the country have
        found that such a process is fully defensible. (Dkt. 527, at Exhibits A and B). Notwithstanding,
        and in the spirit of cooperation, Teva informed the Court and Plaintiffs that it would “agree to
        apply CMML across its current custodial dataset of approximately 8 million documents, without
        regard to whether the documents hit on a search term, if such an agreement would expedite
        resolution of this dispute.” (Dkt. 527). In that same filing, Teva pointed out that it had retained the

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          As has been reiterated multiple times over the past few months, the Teva Defendants expressly indicated to Plaintiffs
        at the November 15, 2019 in-person ESI meeting (which was occurring as negotiations over the search terms were
        nearing their conclusion and the parties clearly understood search terms would be used as the initial mechanism to
        identify a set of documents for review), that they had not determined whether to use technology-assisted review but
        reserved the right to do so.

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        internationally recognized technology-assisted review (“TAR”) and CAL expert, Dr. Maura R.
        Grossman, who could assist the parties in agreeing to a validation protocol, the purpose of which
        would be to validate that Teva’s CMML process had worked and that as few as possible responsive
        documents were left behind. (Dkt. 527).

                Thereafter, the Court engaged both parties in a series of meaningful negotiations
        surrounding a validation protocol. In hours of discussions between Teva and Plaintiffs, Teva and
        the Court, and the parties with the Court participating, counsel for Teva painstakingly explained
        how the CMML system operates and fielded questions on review methodology. Teva provided a
        detailed draft validation protocol prepared with the aid of one the world’s foremost expert (and
        similar to other validation protocols that have been entered approvingly by Courts), and thereafter
        made a series of revisions to this protocol incorporating edits and comments from Plaintiffs and
        the Court. Ultimately, Teva acquiesced or provided solutions to almost all of the Plaintiffs’
        concerns surrounding Teva’s proposed validation protocol, except for Plaintiffs insistence on both
        receiving and reviewing thousands, if not hundreds of thousands, of non-responsive documents
        from Teva. This latter point of contention ultimately sank the parties’ negotiations, leaving Teva
        with no choice but to withdraw its motion to enforce the ESI Protocol on August 5th and to
        continue with its linear manual review of the documents hitting on search terms, using CMML
        only to prioritize the review but not to exclude any documents from the review process, as
        expressly ordered by the Court at that time, reserving all of its rights to revisit the issue as
        necessary, including the right to seek cost-shifting in the future. (Dkt. 544).3

                On August 6, 2020, Plaintiffs responded to Teva’s withdrawal notice and asked for an order
        either forcing Teva to (i) utilize the TAR protocol as drafted and revised by Plaintiffs’ (which still
        contemplated production of non-responsive documents), or (ii) engaging in a linear manual review
        of all documents hitting on search terms, but reimbursing Plaintiffs’ costs and fees related to the
        TAR dispute, and preventing Teva from revisiting this issue again. (Dkt. 545).

               On August 7, 2020, Teva responded to Plaintiffs’ unfounded request for costs and fees as
        well as its premature attempts to bar Teva from making a subsequent showing for cost-sharing.
        (Dkt. 548). As stated therein, the Court had previously made clear on numerous occasions that any
        party may ask the Court to revisit an issue upon a showing of good faith, and that Teva would not
        waste the Court’s time with any TAR issue “without ample showing of a good reason for doing so

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          Ultimately, as the law was clear (both from the caselaw previously cited to the Court as well as the input of our
        discovery expert Dr. Maura Grossman) that in utilizing CMML as Teva proposed, defendants should not have to turn
        over non-responsive documents, which undisputedly would not be required in a linear manual review process. Rio
        Tinto PLC v. Vale S.A., 306 F.R.D. 125, 129 (S.D.N.Y. 2015) (“[I]t is inappropriate to hold TAR to a higher standard
        than keywords or manual review.”); see also Winfield v. City of New York, No. 15CV05236LTSKHP, 2017 WL
        5664852, at *9 (S.D.N.Y. Nov. 27, 2017) (“[P]erfection in ESI discovery is not required . . . .”); Aurora Cooperative
        Elevator Co. v. Aventine Renewable Energy-Aurora West, LLC, No. 4:12CV230, 2015 WL 10550240, at *2 (D. Neb.
        Jan. 6, 2015) (“The [FRCP] rules do not authorize ordering the defendants to disclose irrelevant information.”).
        Plaintiffs’ unreasonable refusal to acknowledge these legal standards forced Teva to withdraw its prior motion, while
        reserving its rights. See Livingston v. City of Chicago, Civ. A. No. 1:16-cv-10156, Dkt. No. 309 (N.D. Ill. Sept. 3,
        2020) (where Plaintiffs objected to the defendant’s use of CAL, the Court explained that “Plaintiffs’ insistence that
        the City must collaborate with them to establish a review protocol and validation process has no foothold in the
        federal rules governing discovery.” (emphasis added)).

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        and the presentation of additional facts, data or metrics that are not yet available at this point in
        the process.” (Dkt. 548). Plaintiffs, seemingly needing the last word, filed a response to Teva’s
        letter on August 8th. (Dkt. 549).

            II.      TEVA’S DOCUMENT REVIEW PROCESS

                For the last month, Teva has been continuing in its linear manual review of the nearly 3.7
        million documents that hit on search terms and has been prioritizing its review using CMML. To
        date, before any motions to dismiss have even been ruled upon,4 Teva has manually reviewed
        668,385 electronic documents (164,028 documents of the high-priority custodians alone). See
        Consilio Dec., ¶2. Some time ago, however, Teva crossed over from reviewing documents that
        CMML deemed likely to be responsive for the high-priority custodians and has reviewed
        documents that CMML deemed likely to be non-responsive. Teva spent 330.6 hours reviewing a
        uniform random sample of 15,000 of these non-responsive priority custodial documents, only to
        find that merely 109 are responsive after a quality control process. See Grossman Dec., ¶5. In other
        words, as Teva’s CMML process correctly predicted, this process is showing itself to be a colossal
        waste of time, as Teva is spending significant time and resources reviewing irrelevant documents,
        only to find a handful of marginally responsive documents for ultimate production to Plaintiffs,
        most of which are cumulative or duplicative of documents already produced to Plaintiffs.

                Currently, there are 260,375 documents that hit on search terms that remain to be reviewed
        for the high-priority custodians, approximately 258,813 of which the CMML platform believes to
        be non-responsive. Grossman Dec., ¶7. In order to meet the Court’s November 29th production
        deadline, Teva would need to retain 43 attorneys to review all of these documents, each of whom
        would need to spend 40 or more hours a week solely on document review for this case, for a total
        of 5,424 hours and 3.5 weeks. Consilio Dec., ¶4. Even utilizing all available means to efficiently
        and cost-effectively perform this review, it would still cost Teva approximately $228,000 to review
        the documents that CMML predicts are non-responsive.5 Consilio Dec., ¶5. Extrapolating from
        the current metrics seen by Teva as it relates to the non-responsive materials, Teva suspects that
        only 1,562 documents or 0.6% will be marginally responsive and produced to Plaintiffs as a result
        of this additional review effort. And, these numbers are just for a straightforward responsiveness
        review of the six high-priority custodians, but do not include the time and money that Teva would
        also need to spend on the review of the remaining 30 custodians’ non-responsive data, redactions,
        privilege designations, a privilege log workflow, and a quality control process by outside counsel.

                Ultimately, there can be no straight-faced (much less reasonable) argument that the
        eDiscovery review process Teva is currently being forced to undertake, as a result of Plaintiffs’
        unreasonable positions that are contrary to current eDiscovery best practices and applicable law,
        is proportionate to the needs of this case. This is particularly true when all of this time and money
        is yielding only a minimal number of duplicative, marginally responsive documents being
        4
          Teva’s Motion to Dismiss was filed on July 17, 2020 and remains pending. (Dkt. No. 520).
        5
          Teva would need to review 166 non-responsive documents in order to find one marginally responsive document.
        Grossman Dec., ¶8. To be clear, these estimates are for the six high-priority custodians only. This exercise would
        take substantially longer and cost Teva hundreds of thousands more dollars if Teva is forced to undergo a similar
        exercise for the remaining custodians.

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        produced to Plaintiffs. Teva raised this issue with Plaintiffs by initiating a meet and confer process
        via a telephone conference on October 5, 2020. During the meet and confer, Plaintiffs’ counsel
        requested additional information, which Teva provided via a letter sent on October 6th. (See
        Exhibit A). On October 9th, Teva then engaged in a follow-up telephone conference with Plaintiffs
        to discuss the letter and provide additional details on its validation process. During that call, Teva
        also agreed to identify for Plaintiffs the 109 responsive documents it found during a review of the
        15,000 non-responsive set in order for Plaintiffs to see that they are marginally responsive and
        duplicative of information already produced. After considering Teva’s request, Plaintiffs’ counsel
        informed Teva yesterday, on October 12th, that Plaintiffs would not agree, thereby necessitating
        this letter motion.

                For the reasons set forth more fully below, Teva respectfully requests an order foreclosing
        additional review of documents that based on state-of-the-art TAR and eDiscovery best practices
        are non-responsive. Alternatively, Teva respectfully requests that the Court shift the cost of Teva’s
        further non-responsive document review by ordering Plaintiffs to reimburse Teva’s costs and fees
        associated with reviewing documents that CMML predicts are non-responsive.

            III.     STANDARD OF REVIEW

                Under Federal Rule of Civil Procedure 26(b)(1), “[p]arties may obtain discovery regarding
        any nonprivileged matter that is relevant to any party's claim or defense and proportional to the
        needs of the case, considering the importance of the issues at stake in the action, the amount in
        controversy, the parties’ relative access to relevant information, the parties’ resources, the
        importance of the discovery in resolving the issues, and whether the burden or expense of the
        proposed discovery outweighs its likely benefit. Information within this scope of discovery need
        not be admissible in evidence to be discoverable.” Fed. R. Civ. P. 26(b)(1). “[D]iscovery from
        reasonably accessible ESI sources proceeds in the same manner as discovery from paper sources,
        and is subject to the burden and proportionality limits of Rule 26(b)(2)(C).” Gilmore v. Ford Motor
        Co., Nos. 12-cv-547, 12-cv-548, 2012 WL 12895056, at *3 (W.D. Pa. Dec. 4, 2012). “[W]hen a
        discovery request purports to require a search for relevant materials, the “standard . . . is
        reasonableness, not perfection.” Agerbrink v. Model Service LLC, 2017 WL 933095, at *5
        (S.D.N.Y. Mar. 8, 2017); see also Sapia v. Bd. of Educ. of the City of Chicago, 2017 WL 2060344,
        at *2 (N.D. Ill. May 15, 2017) (“‘Parties are entitled to a reasonable opportunity to investigate the
        facts—and no more.’”).

                Following the guidance of Rule 26, courts generally find that determining whether a
        discovery request warrants cost-shifting based on its burdensomeness turns on: the needs of the
        case; the amount in controversy; the parties’ resources; the importance of the issues at stake; and
        the importance of the proposed discovery in resolving those issues. See Oxbow Carbon & Minerals
        LLC v. Union Pac. R.R. Co., 322 F.R.D. 1, 10–11 (D.D.C. 2017); see also McClurg v.
        Mallinckrodt, Inc., No. 4:12-CV-00361-AGF, 2016 WL 7178745, at *3 (E.D. Mo. Dec. 9, 2016)
        (evaluating whether to shift expenses by considering the proportionality factors).




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                The seminal decisions outlining the factors utilized to evaluate cost shifting are the product
        of a series of decisions in Zubulake v. UBS Warburg LLC, 216 F.R.D. 280 (S.D.N.Y. 2003), which
        are often referred to by number, including specifically Zubulake I, 217 F.R.D. at 322 and Zubulake
        III, 216 F.R.D. at 284.6 These factors are:

                        The extent to which the request is specifically tailored to discover relevant
                         information;
                        The availability of such information from other sources;
                        The total costs of production compared to the amount in controversy;
                        The total costs of production, compared to the resources available to each party;
                        The relative ability of each party to control costs and its incentive to do so;
                        The importance of the issues at stake in the litigation; and
                        The relative benefits to the parties of obtaining the information.

                While the Zubulake decisions related to “inaccessible” ESI, based on the 2006 amendments
        to the Federal Rules, Courts have further “focused on Rule 26(b) proportionality factors to
        determine which party should bear the costs of discovery without regard to whether ESI was
        reasonably accessible or not.” Lawson v. Spirit AeroSystems, Inc., No. 18-1100-EFM-ADM, 2020
        WL 3288058, at *9 (D. Kan. June 18, 2020) (“In 2006, Rule 26(b) was amended to reflect the
        principles articulated in Zubulake and subsequent cases on shifting costs for non-reasonably
        accessible ESI.”).

                In Lawson, the Court granted the Defendant’s Motion to Shift Costs of TAR to Plaintiff.
        Lawson, 2020 WL 3288058, at *1. In doing so, the Court analyzed the proportionality factors
        discussed above. With respect to the costs of discovery, courts compare the expense associated
        with eDiscovery to the overall amount in controversy. Id. However, the Lawson Court recognized
        that other expenses also factored into the calculus and noted that “[t]he fact that a plaintiff seeks
        millions in relief does not give him or her license to conduct fishing expeditions that run up the
        cost of discovery.” Id. at *12. The Court stated that it would not require the Defendant to shoulder
        needless litigation expenses simply because it is a large company and the Plaintiff is an individual.
        See id. at *14. The Court further explained that the Plaintiff was “amply funded” and therefore
        both parties have sufficient resources to bear their fair share of litigation expenses. Id.

                 In analyzing “whether the discovery seeks information on issues ‘at the very heart of [the]
        litigation,’” id. at *15, the Court found that the Plaintiff’s custodians and search terms were not
        tailored to obtain relevant discovery. Id. at *17. Further, the Court found that this factor weighed
        heavily in favor of allocating the TAR expenses to the Plaintiff “because, to this day, [the Plaintiff]
        has not articulated how documents produced through the TAR process were not just relevant (and
        hence duplicative for evidentiary purposes), but uniquely relevant in such a way that they were
        important. . . .” Id. at *19.

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          “The Third Circuit has adopted [the Zubulake] criteria for when cost-shifting might be appropriate in electronic
        discovery.” Juster Acquisition Co., LLC v. N. Hudson Sewerage Auth., Civ. A. No. 12-3427 JLL, 2013 WL 541972,
        at *4 (D.N.J. Feb. 11, 2013) (citing Wachtel v. Guardian Life Ins., 2007 WL 1752036 (D.N.J. June 18, 2007)
        (following Zubulake)).

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                Perhaps most centrally, the Lawson Court analyzed whether the burden or expense of the
        proposed discovery outweighs its likely benefit. The Court looked to the costs associated with
        TAR and document review in general and noted that the 3.3% responsiveness rate—considerably
        higher than the responsiveness rate in the set of documents Defendants are seeking not to have to
        review here—reflected an exceptionally low level of richness that meant, in simple terms, that the
        TAR technology and team had to work harder than was reasonable to process the remaining
        documents in the TAR set. Id. at 19-20. Given the above, the Court concluded that the substantial
        burden and expense of the TAR process far outweighed the likely benefits and that this factor
        weighed heavily in favor of allocating TAR expenses to the Plaintiff. Id. at *21. Combining each
        of these factors, the Court granted the Defendant’s Motion to Shift Costs of Technology Assisted
        Review of ESI to Plaintiff.7 Id. at *1; see also Wiginton v. CB Richard Ellis, Inc., 229 F.R.D. 568
        (N.D. Ill. 2004) (holding that relevant factors favored shifting costs of electronic discovery
        requested by plaintiffs, and thus employer would bear 25% and plaintiffs 75%).

            IV.      ARGUMENT

                     a. It is Disproportionate to the Needs of the Case to Force Teva into Reviewing
                        Non-Responsive Documents

                There can be no reasonable response to Teva’s claim that it is disproportionate to the needs
        of a case to force a party to review hundreds of thousands of documents that are irrelevant to the
        claims or defenses in this litigation. During the previous exchanges, Your Honor even
        acknowledged during the meet and confer process that “the thought of Teva spending millions of
        unnecessary dollars is so distasteful there just has to be a way to get this done.” At that time, Teva
        came to the Court with what it reasonably predicted CMML would ultimately show in terms of the
        universe of documents that are responsive. Now, Teva is coming to the Court with metrics
        demonstrating that Teva’s CMML model has undeniably demonstrated its accuracy , and that is
        that 260,375 documents for the high- priority custodians are likely to be largely irrelevant and
        would be a waste of time and resources to review.8 Teva learned of this number through an
        extensive validation process overseen by the leading expert Dr. Grossman, which resulted in a
        TAR recall of 92.2%, which is as high as can be reasonably obtained by any method, whether
        linear review or automated. Grossman Dec., ¶7. Thus, there is no longer anything hypothetical in
        nature about the disproportionate aspect of the continued review at this stage of non-responsive
        documents here, or the enormous prejudice to Teva if forced to continue without relief. Teva has
        demonstrated that further review of these non-responsive documents is decidedly disproportionate
        and burdensome.

               As noted above, proportionality is measured by a variety of factors. This case already
        involves skyrocketing discovery costs and is currently bogged down by a well-funded Plaintiffs’
        7
          It bears noting that Teva is fully willing to bear the expenses associated with reviewing documents CMML predicts
        are responsive, which is even more than the Defendants in Lawson were willing to do.
        8
          While Teva has only undergone the extensive sampling process for the high-priority custodians, Teva expects that
        the same result will be true as to the remainder of the custodians, leading to millions of documents for review that
        are non-responsive. Teva is planning to engage in this same validation process for the remaining custodians.

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        group’s attempts to force Teva into reviewing millions of irrelevant documents, only a tiny fraction
        of which may be marginally relevant and duplicative of the information they have already been
        given. Lawson, 2020 WL 3288058 (which found a 3.3% responsiveness rate to be
        disproportionate; Teva now has only a 0.6% responsiveness rate for the data remaining for the
        high-priority custodians). As seen by the incredibly low responsiveness rate Teva is currently
        observing and the 92.2% TAR recall rate, the benefit of continued review is far outweighed by the
        burdensome cost and time required of Teva’s review team. Id. at 19-20.9

                 Plaintiffs’ discovery requests are not reasonably tailored to locate responsive information,
        and their oft-repeated assertion that “we don’t know what we don’t know” is an insufficient basis
        to justify this tremendous expense and merely confirms they seek to conduct a classic phishing
        expedition rather than legitimate discovery of the issues. See id. at *19 (“[T]o this day, [the
        Plaintiff] has not articulated how documents produced through the TAR process were not just
        relevant (and hence duplicative for evidentiary purposes), but uniquely relevant in such a way that
        they were important . . . .”); see also, Livingston v. City of Chicago, Civ. A. No. 1:16-cv-10156,
        Dkt. No. 309 (N.D. Ill. Sept. 3, 2020) (noting that applying CAL on top of search terms “satisfies
        the reasonable inquiry standard and is proportional to the needs of this case under the federal
        rules.”). If Teva is compelled to undergo a review of the documents CMML predicts are non-
        responsive for the high-priority custodians, it will waste weeks of time and resources reviewing
        these 260,375 non-responsive documents, only to likely produce approximately 1,562 duplicative
        and marginally relevant document to Plaintiffs based on CMML’s predictions and Teva’s robust
        validation efforts to date.

               As set forth in Zubulake and Lawson and discussed above, under FRCP 26(c) this type of
        an approach is wholly disproportionate to the needs of the case.

                     b. Should Plaintiffs Continue to Insist on Review of Documents Predicted to be
                        Nonresponsive, Plaintiffs Should Bear the Cost of Teva’s Non-Responsive
                        Document Review

                To the extent the Court is inclined to force Teva to review all of the documents that hit on
        search terms, including those that we now know based on CMML and the validation exercise are
        99.4% non-responsive, then Plaintiffs should bear the costs associated with such a wasteful
        exercise to ensure proportionality. If there was ever a case where such cost-shifting was
        appropriate, this is it.

               Rule 26(c) gives courts “discretion … to condition discovery on the requesting party’s
        payment of the costs of the discovery.” Foreclosure Mgmt. Co. v. Asset Mgmt. Hldgs., LLC, C.A.
        No. 07-2388-DJW, 2008 WL 3822773, at *7 (D. Kan. Aug. 13, 2008). Cost-shifting is an
        important tool “in enforcing the proportionality” standard expressly set forth in Rule 26(b)(1).
        F.D.I.C. v. Brudnicki, 291 F.R.D. 669, 676 (N.D. Fl. 2013). Among other factors that bear on

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         Absent relief being ordered here, given the time and resources necessary to complete review of millions of likely
        non-responsive documents, it will be nearly impossible for Teva to meet the Court’s November 29th production
        deadline, even with the [3] contract attorneys Teva has working on this matter

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        whether cost-shifting is appropriate are: “predictions as to the importance and usefulness of the
        further information,” “the quantity of information available from other and more easily accessed
        sources,” and “the likelihood of finding relevant, responsive information that cannot be obtained
        from other, more easily accessed sources.” Semsroth v. City of Wichita, 239 F.R.D. 630, 637 (D.
        Kan. 2006) (quoting 2006 Advisory Committee Notes to Fed. R. Civ. P. 26(b)(2)).

               Cost shifting is clearly appropriate at this juncture. First, “predictions as to the importance
        and usefulness” of the discovery sought have shown that over 99% of the 260,375 documents
        remaining to be reviewed for the priority custodians are likely to be non-responsive or irrelevant.
        Semsroth, 239 F.R.D. at 637. The most recent sampling exercise resulted in an elusion of 0.6% for
        the unreviewed documents for the high-priority custodians, and a large majority of those were
        marginally responsive meaning that hardly any documents were truly responsive or introduced
        non-duplicative information.

               Courts routinely require the requesting part to shoulder discovery costs when sampling
        exercises such as the one Teva has undertaken reveal similarly low responsiveness rates. See, e.g.,
        Moody v. Aircastle Advisor, LLC, No. 3:13-757-CSH, 2014 WL 1761736, at *2 (D. Conn. Apr.
        30, 2014) (denying motion to compel defendant that had spent approximately $90,000 reviewing
        8,000 documents to conduct additional ESI searches when sample searches indicated a low
        responsiveness rate, unless plaintiff agreed to pay costs); Wiginton v. CB Richard Ellis, Inc., 229
        F.R.D. 568 (N.D. Ill. 2004) (shifting 75% of production costs in light of 4.5%-6.5% sample
        responsiveness rate); Stryker Corp. v. Ridgeway, No. 1:13-1066, 2015 WL 4425947, at *2 (W.D.
        Mich. July 20, 2015) (ordering former employee to pay for additional searches of employer’s
        emails due in part to “the manner in which [employer] had already attempted to respond to
        [employee’s] request … and the low probability that there would be any responsive documents.”).

                Second, the ESI discovery process thus far has shown that the “quantity of information
        available from other and more easily accessed sources” is superior to these irrelevant documents
        hitting on the search terms insisted upon by Plaintiffs, which have resulted in the millions of
        documents at issue. As stated above, documents that CMML predicts are responsive are likely to
        contain the relevant materials and Teva is manually reviewing each and every one of those
        documents for potential production to Plaintiffs. Because the remainder of the documents that
        Plaintiffs insist that Teva review will be extremely expensive and time-consuming, and will bear
        almost no fruit as compared to the hundreds of thousands of responsive documents already to be
        produced by Teva, a party like Plaintiffs who nonetheless insist upon it should bear the cost of
        doing so. See Wood v. Capital One Servs., LLC, No. 09-1445, 2011 WL 2154279, at *9 (N.D.N.Y.
        Apr. 15, 2011) (denying motion to compel expensive ESI where relevant information sought could
        be obtained through other means unless plaintiff agreed “to underwrite the expense associated with
        any such search”).

                Finally, the review and CMML sampling exercises undertaken by Teva in the last month
        have not revealed any “relevant, responsive information” that is not already being produced to
        Plaintiffs. Instead, these exercises—encompassing a review of more than 15,000 documents—
        have yielded very few marginally responsive documents among the documents identified by
        CMML as non-responsive for the priority custodians, yielding a 92.2% TAR recall rate. In other

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        words, these exercises have only confirmed Teva’s position all along—which is that CMML has
        been highly accurate in its predictions of what is responsive versus non-responsive, and within the
        260,375 unreviewed documents, only about 1,562 of those are likely to be marginally responsive.

                It should also be noted that the disproportionate burden on Teva does not start and stop
        with a straightforward review. Instead, all documents reviewed must also go through a detailed
        quality control process, be reviewed for redactions, potential privilege, and the like. Even using
        the most efficient means possible, Greenberg Traurig has already spent more than 1,000 hours on
        ESI issues in this case, costing Teva approximately $450,000 in GT attorney time alone, all before
        its motion to dismiss has been ruled upon. Absent relief, Teva will incur the cost of 5,424 hours of
        further unnecessary attorney review on the high priority custodial documents alone (which will be
        substantially higher when factoring in the remaining 30 custodians)—all for essentially nothing,
        as more than 99% of these documents will be deemed non-responsive, consistent with CMML,
        and will never be produced to Plaintiffs. Grossman Dec., ¶4. There is no universe in which this
        exercise could be considered proportional under the Federal Rules of Civil Procedure and
        applicable law. The Court must grant Teva relief here as a result.

                In sum, if Plaintiffs are going to continue to maintain their unreasonable demands forcing
        Teva to review hundreds of thousands of non-responsive documents for the high-priority
        custodians (and even more for the remaining custodians) and therefore incur millions of additional
        dollars in cost, they should be the ones to pay for it.

            V.       CONCLUSION

               For the reasons set forth more fully above and in accordance with applicable law and well-
        accepted eDiscovery best practices, the Teva Defendants’ respectfully request that this Court enter
        an order foreclosing additional review of high priority custodian documents that based on Teva’s
        CMML model are predicted to be non-responsive and are, accordingly, disproportionate to the
        needs of the case; and/or in the alternative, order Plaintiffs to reimburse Teva’s costs and fees
        moving forward associated with reviewing any documents that Teva’s CMML model predicts are
        non-responsive.




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        Dated: October 13, 2020                   Respectfully submitted,

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                                                  and Actavis Pharma, Inc.




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                                            CERTIFICATE OF SERVICE

                 I hereby certify that on October 13, 2020, I served the foregoing letter to the Court was

        served on all counsel of record via filing in the CM/ECF system.

                                                                       /s/ Jeffrey Greene




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                       EXHIBIT A
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                                                    October 6, 2020

  VIA E-MAIL ONLY TO

  Adam Slater
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            Re:       In re: Valsartan, Losartan, and Irbesartan Products Liability Litigation.,
                      U.S. District Court for the District of New Jersey; Case No. 1:19-md-02875-
                      RBK-JS

  Dear Counsel:

          Thank you for the productive meet and confer telephone conference yesterday surrounding
  Defendants Teva Pharmaceuticals USA, Inc., Teva Pharmaceutical Industries Ltd., Actavis LLC,
  Actavis Pharma, Inc., and Arrow Pharm (Malta) Ltd. (collectively, “Teva” or the “Teva
  Defendants”). As I explained, Teva strongly believes it has a good-faith basis to move for an
  order: 1) foreclosing additional disproportionate review of documents that based on data analytics
  and e-discovery best practices, are highly likely to be non-responsive; and/or 2) to shift the cost
  of Teva’s further non-responsive document review by ordering Plaintiffs to reimburse Teva its
  costs and fees associated with reviewing documents that Teva’s Continuous Multi-Modal Learning
  (“CMML”) platform predicts are non-responsive. We believe, however, that it is in both parties’
  interests to attempt to reach a prompt and amicable agreement on these issues in lieu of more
  motions practice. I have attempted to provide answers to the questions you posed yesterday,
  however, we welcome another meet and confer with you in order to clarify any additional concerns
  you may have.

          As you know, Teva previously filed a letter brief in support of its motion for an order
  enforcing the Electronic Discovery Protocol (“ESI Protocol”) (Dkt. 127) affirming the Teva
  Defendants’ electronic document review and production process utilizing the CMML platform. As
  set forth in Teva’s filings relating to CMML, the Teva Defendants had not yet relied on CMML to
  exclude any documents from its review, but rather were utilizing CMML to simply prioritize their
  review so that Plaintiffs would receive (and have received) the most relevant documents first (Dkt.
  516). As you know, the parties were unable to agree on a validation protocol, as Teva believed
  Plaintiffs’ request for non-responsive documents went far beyond the requirements set forth in the
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  Federal Rules of Civil Procedure and/or applicable case law. Accordingly, Teva felt it had no
  choice but to withdraw its motion to enforce the ESI Protocol, reserving all of its rights (including
  its right to seek cost-shifting as appropriate) (Dkt. 544). Since that time, our CMML model has
  substantiated Teva’s earlier contentions.

          To demonstrate the accuracy of Teva’s CMML model and to further assure you and the
  Court that Teva is proceeding in accordance with current e-discovery best practices, Teva has spent
  significant time and resources reviewing samples of documents the CMML system predicted to be
  non-responsive. This exercise has made it abundantly clear that the value of continued linear
  review is negligible in comparison to the enormous cost and burden for Teva to continue to review
  the hundreds of thousands of documents associated with high-priority custodians currently
  predicted to be non-responsive by CMML.

         To demonstrate this point, Teva took it upon itself to review a random sample of 15,000
  documents from the high-priority custodians that CMML indicated were non-responsive and had
  not been manually reviewed. Following review and an additional quality control process, of those
  15,000, Greenberg Traurig attorneys deemed merely 109 to be responsive; an elusion of only
  0.73%. This process involved 330.6 hours of attorney review time, cost Teva $13,885, and yet
  99% of the documents associated with this effort will not be produced to Plaintiffs given their non-
  responsiveness. And, of the 109 responsive documents that Teva’s review found in the non-
  responsive set, almost all of them are duplicative of documents already produced or would be
  considered only marginally responsive. Stated differently, the de minimis number of responsive
  documents that Teva’s onerous and expensive quality control review uncovered demonstrated that
  the missed are not highly relevant or dispositive documents. Without Teva being able to rely on
  CMML’s TAR tool moving forward (which has now been shown to have a high level of accuracy),
  any further review of documents predicted to be non-responsive would eviscerate the notion of
  proportionality here. We are confident the Court will be satisfied with the performance of Teva’s
  model and see the lack of value of further review of documents deemed to be non-responsive by
  Teva’s CMML model.

          As for the specific questions you raised during our telephone conference yesterday, Teva
  has manually reviewed a total of 628,509 documents to date.1 164,028 of those documents were
  from the six high-priority custodians (out of a total of 424,403 documents that hit on search terms
  for those six high-priority custodians). For the remaining 260,375 documents that have not yet
  been reviewed for the six high-priority custodians, Teva intends to ask the Court to permit it to
  rely on CMML to cut off its review of these documents because CMML predicts that only about
  1,900 of the remaining documents are responsive, and again, those are likely to be duplicative and
  only marginally responsive.

         For validation, Teva undertook a validation process similar to that set forth in the protocol
  for In re Broilers Chicken, and the results are fully defensible as defined by that protocol.
  Specifically, Teva’s estimated TAR recall is 92.2%. Based on these numbers, it is clear that Teva


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      This number continues to increase each day as our review continues.
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  has already found and reviewed virtually all2 of the responsive documents for the high-priority
  custodians in this case and, therefore, continuing to review hundreds of thousands of non-
  responsive documents only to find a handful of marginally relevant and duplicative documents is
  a colossal waste of time and resources.

           As far as your question about “false positives,” we are not quite sure what you mean by
  that. We assume you are asking for the number of non-responsive documents in the production
  set for the six high-priority custodians. As noted above, we have reviewed 164,028 documents for
  the high-priority custodians. From that review, we have produced (or will be producing upon
  completion of redactions) a total of approximately 31,700 documents. All of the documents that
  have been produced (or will be produced) have been manually reviewed and coded as responsive,
  so in theory, there should be no “false positives.” The only exception to that is the approximately
  15,275 non-responsive documents that were produced (or will be produced) because they are
  family members of responsive documents.

          To be clear, at this point, the issue here is not what the ESI Protocol permits or does not
  permit as it relates to CMML. Rather, this is a straightforward proportionality argument that the
  parties must address. Teva should not be forced to spend months and millions of dollars reviewing
  documents that it already knows are non-responsive, as now shown by its quality control and
  validation processes, as forth above. Forcing Teva to do so is the exact scenario that the December
  2015 proportionality amendments to Rule 26 was intended to prevent—needlessly wasting
  resources on disproportionate discovery, which is particularly important to evaluate in expansive
  e-discovery matters. See e.g., Hon. John Roberts, 2015 Year-End Report on the Federal Judiciary
  (Dec. 31, 2015) (“Rule 26(b)(1) crystalizes the concept of reasonable limits on discovery through
  increased reliance on the common-sense concept of proportionality . . . .”).

          In light of the foregoing, please let us know your availability as soon as possible for a
  follow-up telephone conference, wherein we expect to discuss (1) whether Plaintiffs would agree
  to Teva’s use of CMML to exclude further manual review of the 260,375 documents that are
  largely predicted to be non-responsive by CMML, in light of the aforementioned metrics and
  evidence that Teva’s review of non-responsive documents is disproportionate to the needs of the
  case; and/or (2) whether Plaintiffs are willing to enter into a cost-sharing agreement, recognizing
  the time and expense associated with Teva’s further review of non-responsive materials, in the
  event Plaintiffs do not intend to agree to Teva’s use of CMML to cut off the remaining documents
  of the high-priority custodians from manual review. Respectfully, if you are not willing to consider
  our request under any reasonable circumstances, please let us know as soon as possible so that we
  do not waste the parties’ time only to reach a dead-end. To the extent we are unable to reach prompt
  agreement on this issue, we will urgently raise this matter with the Court to avoid further prejudice
  to Teva. I look forward to hearing from you.




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   The Federal Rules require a reasonable search for responsive documents, which is more than Teva has done at this
  point.
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                                                              Very truly yours,

                                                              /s/ Victoria Lockard
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                                                              Inc., Teva Pharmaceutical Industries Ltd.,
                                                              Actavis LLC, and Actavis Pharma, Inc.


  cc:     Lori G. Cohen, Esq. (via email)
          Jeffrey Greene, Esq.




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